                           Case 2:17-cv-00548-KJM-KJN Document 61 Filed 04/10/19 Page 1 of 11


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                       3
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                         Fresno, California 93704
                       5 Telephone: (559) 325-0500
                         Facsimile: (559) 981-1217
                       6

                       7 Attorneys for Plaintiffs and the Class

                       8                                  UNITED STATES DISTRICT COURT

                       9                                 EASTERN DISTRICT OF CALIFORNIA

                      10                                                     * * *

                      11 JULIAN SMOTHERS, an individual, ASA                         Case No. 2:17-CV-00548-KJM-KJN
                         DHADDA, an individual;
                      12                                                             CLASS ACTION
                                    Plaintiffs,
                      13                                                             DECLARATION OF MICHAEL E.
                              vs.                                                    MOORE ON BEHALF OF
                      14                                                             ADMINISTRATOR IN SUPPORT OF
                      15 NORTHSTAR ALARM SERVICES, LLC, a                            RENEWED MOTION FOR
                         Utah corporation; and Does 1–50, inclusive,                 PRELIMINARY APPROVAL OF JOINT
                      16                                                             STIPULATION FOR CLASS
                                       Defendants.                                   SETTLEMENT
                      17
                                                                                     Date:      May 16, 2019
                      18
                                                                                     Time:      10:00 a.m.
                      19                                                             Courtroom: 3

                      20                                                             Judge: Hon. Kimberly J. Mueller

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 Sutton Hague         28
Law Corporation
5200 N. PALM AVENUE
     SUITE 203
 FRESNO, CA 93704                 __________________________________________________________________________________________________
                              DECLARATION OF MICHAEL E. MOORE IN SUPPORT OF RENEWED MOTION FOR PRELIMINARY APPROVAL OF JOINT
                                                                STIPULATION FOR CLASS SETTLEMENT
                           Case 2:17-cv-00548-KJM-KJN Document 61 Filed 04/10/19 Page 2 of 11


                       1 I, the undersigned, hereby state and declare:

                       2          1.      I am the President and Managing Partner at Phoenix Settlement Administrators

                       3 (“PSA”). I have personal knowledge of the facts stated herein and, if called upon to testify, I

                       4 could and would testify competently to such facts.

                       5          2.        I personally have over eight years of experience in claims management and

                       6 administration of class and collective action matters. To data PSA has administered over 500

                       7 cases and an additional 500 Pre and Post Certification Privacy Notices and Survey Mailings.
                                3.      PSA has extensive experience administering class action matters. PSA has
                       8
                           administered complex wage and hour, labor and employment, consumer/ product liability,
                       9
                           Telephone Consumer Protection Act, Fair Labor Standards Act, Fair and Accurate Credit
                      10
                           Transactions Act, Employment Retirement Income Security Act and Private Attorneys General
                      11
                           Act class action matters, through final approval and distribution. PSA has developed a system of
                      12
                           quality assurance measures, to ensure the highest quality service is provided in our cases and to
                      13
                           class members.
                      14
                                  4.      PSA’s Claims Management Group has extensive experiences in all aspects of
                      15
                           Notification and Identification of Class Members, Claims Processing, Formulation and
                      16
                           Calculation Methodologies, Award Distribution and Taxation, Accounting and Reconciliation.
                      17
                                  5.        PSA is committed to Class Member security. We have developed Phoenix Server
                      18
                           Security Protocols(“PSSP”). PSSP allows PSA’s Proprietary Database to store Class Member
                      19
                           private information in a double password protected section that only Case Managers and
                      20
                           Programmers can access. Redundant to this measure, this section times out every minute if data
                      21
                           is being downloaded outside the Database, unless a daily specific passcode is entered. All Class
                      22 Data is digitally backed up daily and tracked for changed to a CM Identifier.

                      23          6.        PSA has extensive experience in and are experts at all aspects of complex class
                      24 action matters including; (i) preparing, printing, mailing and tracking privacy notices; (ii)

                      25 operation of a 24/7/365 multi-lingual call center; (iii) establishing settlement websites; (iv)

                      26 claims management; (v) USPS processes and systems, third party tracing, including the use of

                      27 reverse telephone directory services; (v) database management, programming and security

 Sutton Hague         28 protocols; which included Class Member Privacy and National Change of Address Security of
Law Corporation
5200 N. PALM AVENUE
     SUITE 203
 FRESNO, CA 93704

                              DECLARATION OF MICHAEL E. MOORE IN SUPPORT OF RENEWED MOTION FOR PRELIMINARY APPROVAL OF JOINT
                                                            STIPULATION FOR CLASS SETTLEMENT
                           Case 2:17-cv-00548-KJM-KJN Document 61 Filed 04/10/19 Page 3 of 11


                       1 personal information and Social Security Numbers. PSA has a proprietary Database that allows

                       2 us to run NCOA and Skip Tracing Searches behind our secure servers and network secure IP;

                       3 (vii) calculating and issuing settlement payments; (viii) tax management, filings, and account

                       4 reconciliation; and (ix) final approval. At no time is there access to this information outside of

                       5 our proprietary servers.

                       6          7.      PSA has been appointed as a Claims Administrator in both State and Federal

                       7 Courts in over 300 Class Action Settlements.
                                8.      PSA demonstrates industry leading value on every case. We offer the highest
                       8
                           level of customer care and service in regards to our cost or value, on every case we work on. In
                       9
                           this case specifically, we were able to give back more money to the class, because we have lower
                      10
                           hourly rates and preform all production in house. PSA also has discounted rates on Notice
                      11
                           Postage that we pass on to our clients.
                      12
                                  9.      A true and correct copy of PSA’s Curriculum Vitae is attached hereto as Exhibit
                      13
                           “A”. Also, attached as Exhibit “B” is PSA’s bid for the matter.
                      14

                      15
                                  I declare under the penalty of perjury and under the laws of the State of California that
                      16
                           the forgoing is true and correct, and that if called upon to testify, I could verify the accuracy of
                      17
                           the same. This document was executed on April 10, 2019 in the County of Orange.
                      18

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                      21                                                   Michael E. Moore

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     SUITE 203
 FRESNO, CA 93704

                              DECLARATION OF MICHAEL E. MOORE IN SUPPORT OF RENEWED MOTION FOR PRELIMINARY APPROVAL OF JOINT
                                                            STIPULATION FOR CLASS SETTLEMENT
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                          Exhibit A
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                      1411 N. Batavia St. Suite 105, Orange, Ca. 92867
                                        800.523.5773
                                       www.phoenixclassaction.com



                                           CURRICULUM VITAE

                        Phoenix Settlement Administrators, PSA Overview

Phoenix Settlement Administrators, PSA, is an emerging, National, Class Action Notification and Claims
Administration firm, located in San Diego and Newport Beach California. PSA’s core competencies ensure
delivery of the highest quality and accuracy to its Clients and Class members. With a combined 18 years of
expert experience, PSA,’s Managing Partners, Case Supervisors, Managers and Associates, Data
Programming, and Certified Secure Strategic Partners, possess all the qualities that our Clients expect
throughout the Noticing and Administration process, to Final Approval. It is our Value Pricing, Efficiency,
Experience, Consultative Expertise and Delivery, that has perpetuated PSA, as an emerging leader in Class
Action Settlement Administration. Expert PSA staff members are currently managing, Consumer and Product
Liability, TCPA, Complex Labor & Employment, FLSA, ERISA and PAGA cases.

PSA has over 100 Attorney & Law Firm Clients, which have entrust us with the management of their claims
administration, because of the “Boutique” attention every case receives. PSA is value driven on all size cases.
large or small, cases receive expert management, secure data custody, neutral communication and a
dedicated team. This seamless process maintains superior case continuity to ensure our clients receive timely
final approval and conclusion to their actions. Phoenix Settlement Administrators implements its successful
C.A.S.E. solutions on all our class action matters.

With 10 of Millions of dollars in award distributions currently under management since our inception, PSA has
the ability and strengths to manage all levels of Complex Cases. PSA’s Staff “Synergy” is our greatest
attribute. It allows our people to work closely together and solve our client’s case issues. PSA prides itself as a
true “Third Party Administrator” and holds Neutrality as a mantra. Because of this approach, both Defense and
Plaintiff Clients, experience fairness, trust and confidence in us, and allows for continued business from both
parties. PSA has been appointed Third Party Administrator in State and Federal Courts.

We look forward to working with you on your next Class Action Noticing Campaign or Claims Administration.
Let us design a C.A.S.E. solution, which will allow us to showcase the difference you’ll experience. Superior
Service, Class Savings Value Pricing and Timely Outcomes is why our clients come back to PSA.




                 Phoenix Settlement Administrators 1411 N. Batavia St. Suite 105, Orange, Ca. 92863
                                     Phone: 800.523.5773 Fax: 949.209.2503
                                          www.phoenixclassaction.com
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                                      Expert Core Services

Initial Planning and Consultative Service on Class Action Cases and Noticing Plans.

State/Nationwide Noticing Expertise: Privacy, Media, Publication, Internet & Email Campaigns.

Attorney General(s) CAFA Notification

Claims Programming, Administration, Processing and Reporting.

24/7/365 Multi-Lingual Call Center Support and Claims Processing

Secure Data Management Environment, Individual Firewalls, Encrypted Data and Storage

Settlement Fund Calculations, Solutions, Award Distribution, Award Reconciliation

Tax Filings: State, Federal, EDD, ETT, FUTA, PAGA Payments

                     Partial PSA Client List, Defense and Plaintiff
Fisher & Phillips                                              Jones Law Firm
Gordon & Rees                                                  Law Offices of Jonathan Ricasa
Paul Plevin Sullivan & Connaughton                             Yoon Law, APC
Call & Jensen                                                  Mahoney Law Group
Sutton Hague                                                   Law Office of Thomas Rutledge Law
Moss Bollinger                                                 Office of Briana Kim
Greenberg Traurig                                              Dychter Law Firm
Kearney Littlefield, LLP                                       Verum Law Firm
Littler Mendelson                                              Olsen Law Offices
Kring & Chung                                                  Gould & Associates
Orrick Herrington & Sutcliffe                                  Cohelan, Khoury & Singer
Ogletree Deakins Nash Smoak                                    Troutman Sanders
Chandler Law                                                   Landegger Baron Law Group
Arns Law Firm                                                  Carothers DiSante & Freudenberger
Winston & Strawn                                               Crosner Legal
Sheppard Mullins                                               Rastegar Law Group
Lewis Brisbois Bisgaard & Smith                                Zeldes, Haeggquist & Eck Markham
Morgan Lewis & Bockius                                         Law Firm
Paul Hastings                                                  Diversity Law Group, APC
Park & Zheng                                                   David Yeremian & Associates
Fitzpatrick Spini & Swanston                                   Rukin Hyland Doria & Tindall
Higgs Fletcher & Mack                                          Holland & Knight
Jackson Lewis                                                  Spiro Law Corp
Norton Rose Fulbright                                          Levine Law Group, APC
            Phoenix Settlement Administrators 1411 N. Batavia St. Suite 105, Orange, Ca. 92867
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                          Exhibit B
                                                                                           CASE ASSUMPTIONS
                       Case 2:17-cv-00548-KJM-KJN Document                               61Class
                                                                                              Filed  04/10/19
                                                                                                 Members                Page 379
                                                                                                                             8 of 11
                                                                                           Opt Out Rate                           4%
                                                                                           Opt Outs Received                      15.16
                                                                                           Total Class Claimants                  363.84
                                                                                           Subtotal Admin Only                    $34,071.51

                                                                                           Value Pricing Total   $30,665.00
                                                                                           For 379 Class Members

April 4, 2019


Case: Alarm Co, Opt-Out/FLSA Administration
Phoenix Contact: Melissa A. Meade                                                          Requesting Attorney:                  Jared Hague
Contact Number: 949.331.0865                                                               Firm:                                 Sutton Hague
Email: melissa@phoenixclassaction.com                                                      Contact Number:                       702-270-3065
                                                                                           Email:                                 jared@suttonhague.com

Assumptions and Estimate are based on information provided by counsel. If class size changes, PSA will need to adjust this Estimate accordingly.
Estimate is based on 379 Class Members. PSA assumes class data will be sent in Microsoft Excel or other usable format with no or reasonable
additional formatting needed. A rate of $150 per hour will be charged for any additional analysis or programming.




Case & Database Setup / Toll Free Setup & Call Center / NCOA (USPS)
Administrative Tasks:                                                            Rate                         Hours/Units               Line Item Estimate
Programming Manager                                                           $100.00                                   4                          $400.00
Programming Database & Setup                                                  $100.00                                   4                          $400.00
Toll Free Setup*                                                              $150.00                                   2                          $300.00
NCOA (USPS)                                                                   $100.00                                   1                          $100.00
Reverse Skip Trace of FLSA Class                                                1.00                                 285                          $285.00
LinkedIn Search for FLSA Class                                                  2.50                                 285                          $712.50
Email Blasts                                                                   $75.00                                   7                          $525.00
Website with FLSA Opt-In Capability                                         $2,500.00                                   1                        $2,500.00
AdSpin w/ click tracking                                                    $3,500.00                                   1                        $3,500.00
                                                                                                                    Total                        $8,722.50
* Up to 120 days after disbursement


Data Merger & Scrub / Notice Packet, Opt-Out Form & Postage / Spanish Translation / Website
Project Action                                                                    Rate                        Hours/Units               Line Item Estimate
Notice Packet Formatting                                                       $100.00                                  2                          $200.00
Data Merge & Duplication Scrub                                                   $0.15                               379                            $56.85
Notice - Opt-Out                                                                 $1.25                                94                           $117.50
Estimated Postage (up to 2 oz.)*                                                 $0.70                                94                            $65.80
Opt-In Notice/Check                                                              $2.10                               285                           $598.50
Estimated Postage (up to 2 oz.)*                                                 $0.70                               285                           $199.50
Static Website                                                                 $100.00                                  1                          $100.00
                                                                                                                    Total                        $1,338.15
* Prices good for 90 days. Subject to change with the USPS Rate or change in Notice pages or Translation, if any.




         Opt Out Bid                                                                                                 Page 1 of 4 Confidential and Proprietary
                      Case 2:17-cv-00548-KJM-KJN Document 61 Filed 04/10/19 Page 9 of 11




Skip Tracing & Remailing Notice Packets / Tracking & Programming Undeliverables
Project Action:                                                          Rate   Hours/Units            Line Item Estimate
Case Associate                                                         $55.00             6                       $330.00
Skip Tracing Undeliverables                                             $0.85          146                        $123.71
Remail Notice Packets                                                   $1.15          143                        $163.92
Estimated Postage                                                       $0.69          143                         $98.35
Programming Undeliverables                                             $50.00             1                        $50.00

                                                                                       Total                             $765.97


Database Programming / Processing Opt-Outs, Deficiencies or Disputes
Project Action:                                                          Rate   Hours/Units            Line Item Estimate
Programming Claims Database                                           $150.00             2                       $300.00
Follow-Up Calls Re: Check Cashing                                       $2.50         1,000                     $2,500.00
Case Associate                                                         $55.00             6                       $330.00
Opt-Outs/Deficiency/Dispute Letters                                    $10.00            45                       $454.80
Case Manager                                                           $85.00             7                       $595.00
Reminder PostCard                                                       $0.15           379                        $56.85
Reminder Post Card Postage                                              $0.49           379                       $185.71

                                                                                       Total                          $4,422.36


Calculation & Disbursement Programming/ Create & Manage QSF/ Mail Checks
Project Action:                                                          Rate   Hours/Units            Line Item Estimate
Programming Calculations                                              $135.00             3                       $405.00
Disbursement Review                                                   $135.00             3                       $405.00
Programming Manager                                                    $95.00             3                       $285.00
QSF Bank Account & EIN                                                $135.00             2                       $270.00
Check Run Setup & Printing                                            $135.00             3                       $405.00
Mail Class Checks *                                                     $1.05          364                        $382.03
Estimated Postage                                                       $0.49          364                        $178.28

                                                                                       Total                          $2,330.31
* Checks are printed on 8.5 x 11 in. sheets with W2/1099 Tax Filing




        Opt Out Bid                                                                 Page 2 of 4 Confidential and Proprietary
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Tax Reporting & Reconciliation / Re-Issuance of Checks / Conclusion Reports and Declarations
Project Action:                                                                     Rate                         Hours/Units               Line Item Estimate
Case Supervisor                                                                  $115.00                                   5                          $575.00
Remail Undeliverable Checks                                                        $1.99                                109                           $217.21
(Postage Included)
Case Associate                                                                    $55.00                                         6                          $330.00
Reconcile Uncashed Checks                                                         $85.00                                         6                          $510.00
Conclusion Reports                                                               $115.00                                         5                          $575.00
Case Manager Conclusion                                                           $85.00                                         5                          $425.00
Final Reporting & Declarations                                                   $115.00                                         4                          $460.00
IRS & QSF Annual Tax Reporting                                                   $900.00                                         1                          $900.00
State Tax Reporting*                                                             $250.00                                        50                       $12,500.00

                                                                                                                            Total                        $16,492.21
* All applicable California State & Federal taxes, which include SUI, ETT, and SDI, and FUTA filings. Additional taxes are Defendant's responsibilty.


                                                                                                           Estimate Total:                              $34,071.51




         Opt Out Bid                                                                                                    Page 3 of 4 Confidential and Proprietary
                        Case 2:17-cv-00548-KJM-KJN Document 61 Filed 04/10/19 Page 11 of 11




                                                            TERMS AND CONDITIONS
Provisions: The case estimate is in good faith and does not cover any applicable taxes and fees. The estimate does not make any provision for any services or
class size not delineated in the request for proposal or stipulations. Proposal rates and amounts are subject to change upon further review, with Counsel/Client, of
the Settlement Agreement. Only pre-approved changes will be charged when applicable. No modifications may be made to this estimate without the approval of PSA
(Phoenix Settlement Administrators). All notifications are mailed in English language only unless otherwise specified. Additional costs will apply if translation into
other language(s) is required. Rates to prepare and file taxes are for Federal and California State taxes only. Additional charges will apply if multiple state tax filing(s)
is required. Pricing is good for ninety (90) days.


Data Conversion and Mailing: The proposal assumes that data provided will be in ready-to-use condition and that all data is provided in a single, comprehensive
Excel spreadsheet. PSA cannot be liable for any errors or omissions arising due to additional work required for analyzing and processing the original database. A
minimum of two (2) business days is required for processing prior to the anticipated mailing date with an additional two (2) business days for a National Change of
Address (NCOA) update. Additional time may be required depending on the class size, necessary translation of the documents, or other factors. PSA will keep
counsel apprised of the estimated mailing date.


Claims: PSA's general policy is to not accept claims via facsimile. However, in the event that facsimile filing of claims must be accepted, PSA will not be held
responsible for any issues and/or errors arising out of said filing. Furthermore, PSA will require disclaimer language regarding facsimile transmissions. PSA will not
be responsible for any acts or omissions caused by the USPS. PSA shall not make payments to any claimants without verified, valid Social Security Numbers. All
responses and class member information are held in strict confidentiality. Additional class members are $10.00 per opt-out.


Payment Terms: All postage charges and 50% of the final administration charges are due at the commencement of the case and will be billed immediately upon
receipt of the data and/or notice documents. PSA bills are due upon receipt unless otherwise negotiated and agreed to with PSA by Counsel/Client. In the event the
settlement terms provide that PSA is to be paid out of the settlement fund, PSA will request that Counsel/Client endeavor to make alternate payment arrangements
for PSA charges that are due at the onset of the case. The entire remaining balance is due and payable at the time the settlement account is funded by Defendant,
or no later than the time of disbursement. Amounts not paid within thirty (30) days are subject to a service charge of 1.5% per month or the highest rate permitted by
law.


Tax Reporting Requirements

PSA will file the necessary tax returns under the EIN of the QSF, including federal and state returns. Payroll tax returns will be filed if necessary. Under the California
Employment Development Department, all taxes are to be reported under the EIN of the QSF with the exception of the following taxes: Unemployment Insurance
(UI) and Employment Training Tax (ETT), employer-side taxes, and State Disability Insurance (SDI), an employee-side tax. These are reported under Defendant's
EIN. Therefore, to comply with the EDD payroll tax filing requirements we will need the following information:



1. Defendant's California State ID and Federal EIN.

2. Defendant's current State Unemployment Insurance (UI) rate and Employment Training Tax (ETT) rate. This information can be found in the current year DE
2088, Notice of Contribution Rates, issued by the EDD.

3. Termination dates of the class members, or identification of current employee class members, so we can account for the periods that the wages relate to for each
class member.

4. An executed Power of Attorney (Form DE 48) from Defendant. This form is needed so that we may report the UI, SDI, and ETT taxes under Defendant's EIN on
their behalf. If this form is not provided we will work with the EDD auditors to transfer the tax payments to Defendant's EIN.

5. Defendant is responsible for reporting the SDI portion of the settlement payments on the class member's W-2. PSA will file these forms on Defendant's behalf for
an additional fee and will issue an additional W-2 for each class member under Defendant's EIN, as SDI is reported under Defendant's EIN rather than the EIN of the
QSF. The Power of Attorney (Form DE 48) will be needed in order for PSA to report SDI payments.




          Opt Out Bid                                                                                                       Page 4 of 4 Confidential and Proprietary
